Case: 1:17-md-02804-DAP Doc #: 5276-2 Filed: 12/15/23 1 of 4. PagelD #: 625578

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION MDL NO. 2804
OPIATE LITIGATION
Case No. 17-MD-2804
THIS DOCUMENT RELATES TO:
Judge Dan Aaron Polster
City of Rochester v. Purdue Pharma, L.P.,
No. 19-op-45853 (Track 12)

Lincoln County v. Richard S. Sackler, M.D.,
No. 20-op-45069 (Track 13)

City of Independence, Missouri v. Williams,
No. 19-op-45371 (Track 14)

County of Webb, Texas v. Purdue Pharma,
L.P., No. 18-op-45175 (Track 15)

DECLARATION OF ALLISON J. CAPLIS IN SUPPORT OF

OPTUMR«X, INC.’S MOTION TO DISQUALIFY MOTLEY RICE
Case: 1:17-md-02804-DAP Doc #: 5276-2 Filed: 12/15/23 2 of 4. PagelD #: 625579

DECLARATION OF ALLISON J. CAPLIS

I, Allison J. Caplis, declare as follows:

be I am over eighteen years old, of sound mind, and under no legal disability.

2. I am Counsel at Hogan Lovells US LLP, and I represented OptumRx, Inc.
(“OptumRx”) in responding to investigative subpoenas that the Attorneys General of Hawaii and
the District of Columbia served on OptumRx.

3: I submit this declaration in support of OptumRx’s Motion to Disqualify Motley
Rice.

4. I have personal knowledge of the facts set forth in this declaration, and if called to
testify in person about those facts, could competently do so under oath.

OptumRx’s Productions to the Hawaii Attorney General

Ss On October 15, 2021, the Hawaii Attorney General issued a Subpoena Duces
Tecum to OptumRx, That subpoena directed OptumRx to produce documents directly to Hawai‘i
Special Deputy Attorney General Linda Singer of Motley Rice LLC.

6. On behalf of OptumRx, I negotiated a confidentiality agreement and the
subpoena’s document requests with Paige Boggs of Motley Rice. The confidentiality agreement
was executed by both Linda Singer and Paige Boggs of Motley Rice.

7. On June 8, 2022, OptumRx produced to Motley Rice 68,310 pages of
commercially sensitive information that were previously produced to the Minnesota Attorney
General’s Office. Those documents were branded with the same Bates-numbers as were

provided to the Minnesota Attorney General’s Office.
Case: 1:17-md-02804-DAP Doc #: 5276-2 Filed: 12/15/23 3 of 4. PagelD #: 625580

8. On September 1, 2022, OptumRx produced to Motley Rice commercially
sensitive data, including certain of OptumRx’s rebate-related data and consumer transaction level
data.

9. The vast majority of the documents that OptumRx produced to Motley Rice are
not available to the public and constitute OptumRx’s sensitive commercial documents.

OptumRx’s Productions to the District of Columbia Attorney General

10. On December 28, 2020 the District of Columbia Attorney General issued an
investigative subpoena to OptumRx. That subpoena required OptumRx to produce documents
directly to Linda Singer of Motley Rice LLC.

11. On behalf of OptumRx, I negotiated a confidentiality agreement and the
subpoena’s document requests with Paige Boggs of Motley Rice. The confidentiality agreement
was executed by both Linda Singer and Paige Boggs of Motley Rice.

12. On July 13, 2021, OptumRx produced to Motley Rice a ranked list, by rebate
value over time for prescriptions filled at pharmacies in the District of Columbia, of certain drug
manufacturers that OptumRx contracts with. That list included manufacturers of opioid products.

13, On September 10, 2021, OptumRx produced to Motley Rice 68,310 pages of
commercially sensitive information that were previously produced to the Minnesota Attorney
General’s Office. Those documents were branded with the same Bates-numbers as were
provided to the Minnesota Attorney General’s Office.

14. On November 24, 2021, OptumRx produced to Motley Rice commercially
sensitive data, including certain of OptumRx’s rebate-related data and consumer transaction level

data.
Case: 1:17-md-02804-DAP Doc #: 5276-2 Filed: 12/15/23 4 of 4. PagelD #: 625581

15. That information is not available to the public and constitute OptumRx’s sensitive

commercial material.

I declare under penalty of perjury under the laws of the United States that the foregoing is true

and correct.

Dated: December 14, 2023. A lum J te Ap) lh,

Allison J. Caplis

